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                                     t., A W S           of M.A R r L A N D.
                                                     C    H   A     P.   XX.


                        .       An ACT for the better fecurity of the go,:ernment.


                       W
Preamble.                         HEREAS, in every free ftate, allegiance and rotelt.ion are rec.iprocai,
                                                                                    p.

                                   and no man is entitled to the benefit of the one, who refofes to yield
                                   the other; and as every inhabitant of this ftate enjoys_ the protection
                       and benefit of the government and laws thereof, and it is reafonable that every
                       perfon iliould give teftimony of ,bis attachment and fidelity to this ftate, and the
                       prefent government thereof, as now eftabliilied,

Every free                II. '16e it enaaen, by the general qlfembly cf Maryland, That every free male
male perfon
to take the
                    r.
                 penon wit   m t h"1s nate,
                          . h'        11.          · hteen ·years of age, un}e1s
                                            above e1g                         r.
                                                                                 a qua ker, menomu
                                                                                                · ·Jl. or
oath of fideli- ·dunker, thall, on or before the fir.ft day of March next, take, repeat and fubfcribe,
ty, &c.                the oath of fidelity and fupport to this ftate, contained in the act, entitled; An act
                       to puniih certain crimes and mifdemeanors, and to prevent the growth of toryifm ;
                       and every free male quaker, menonift or dunker, within this frat~, above eighteen
                       years of age, iliall, on or before the fir.ft day of March next, folemnly, fincerely
                       and truly declare and affirm, in the words of the faid oath, and thereto fubfcribe
                       his name.

'Before fome              III. !!nll be it enafteb, That the faid oath and affirmation fhall be. taken with-
magiftrate ;
                       in the time aforefaid, before fome magiftrate of the county or city where the per-
                       fon who takes fuch oath or affirmation refides.
 Who isto
keep two
                           IV. ann be it enaacn, That every magifirate aforefaid, fhall keep two paper
books, &c:.            books, one for all perfons who £hall take the oath aforefaid, and the other for all per-
                       fons who iliall take the affirmation aforefaid, prefixing to on~ of the faid books the
                       oath aforefaid, and to 'the other the affirmation aforefaid. And all perfons requi-
                       red by this act to take the faid oath, or affirmation, iliall, after taking- the .fume~
                       fubfcribe his na,pie thereto, in fuch book as contains the oath, if fuch perfon
                       takes the faid oath, or in fuch book as contains the affirmation, if fuch perfon
                       takes the faid affirmation ; and if fuch perfon cannot write his name, he iliall en-
                        ter his mark, and the magiftrate iliall thereto fet his name.

                     V. 8nll, for the afcertaining fuch as iliall neglect to take the faid oath, or affir-
 M~giil:ratcs to mation, and that there may be a record evidence of fµch neglect, 15e it enatten~
 1
  1:~~c f<rn;,.c That
 pH:. 0 trn tr
               0
                   -
                  f,
                        every magiftrateh aforefaid
                                            .       fuall make
                                                            . out fair copies of his faid book~, with
 books, &c.             au co;1venient difpatc , after the aforefa1d fir.ft day of March, and the fame tranf-
                        Jilit to the governor and council of this ftate, and ihall deliver the original books
                        to his next county court which ihall ha.ppen after the faid firft day oflVlarch next,.
                        there to be recorded.                                  ·

 "-\nd to attend          VI. inb be it enaaen,
                                            That every magifl:rate of the county fualI, and he is
 c-ne day in
 <:very {yeek,
                 hereoy enjoined and required, to attend one day in every week, until the faid firft
 &c.             d.iy of March next, at the moft convenient places in his neighbourhood, with his
                        books aforefaid, for the purpofe of adminiftering the oath, or affirmation, aforefaid,
                        ~nd for the purpofe of having the fame fubfcribed to, in manner and form afore-
                        {aid; and the faid jufiices iliall give public notice, by advertifement, of fuch pla-
                        ces and days of meeting as aforefaid.                                    ·

 Conftabl& to              VII. ann be it enaden, That every conftable of every hundred {hall, before
 ~t:r ~~~=bi- the firfl: day of March next, make out a fair alphabetical lift of all the free rnale
 t,mts, &c.             inhabitants, refidents in his hundred, and not out of the ftate, or hereafter not ex-
                        empted from taking the faid oath,      or affirmation, who £hall he of the age of
                        eighteen years, on or before the aforefaid fir.ft day  ofMarcbrand a copy of the
                        faid lift, with all convenient difpatch, tranfmit to the governor and council, and
                        the original lift iliaU deliver to the next county .court ofhis county which {hall
                        happen after the aforefaid .tirft day of March next, there to be recorded.

 Allowance to              VIII. Qn'O he it enadcth ·That every magiftrate !hall be allowed in the coun;.
 magi.L-.ucs,
 &c.
                        ty levy, the fame per dfrm allowance, for every day he ihall attend, in purfuance
                                                                                                       of
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                                 TH .6 .. MA.
                                           - . . -$        · ·,0 .I f. H-1. 0 -/V. Et...•
                                                  . - \.\,,;,I
                                                           «¥                        .111, Governor.
                                                                                    .>.     .   .               .                   ,                                                      1777
ofthls a,;t, to ta~ lhe o~th.,«"'~ matio11;aforefaid, asi$ .allowed the juftices for c H A P.
th.~ir at~endance in                                 .~ltf•
                          t~Ujl,ty, ~pijr,t; a:µci, ~ : feveral c()dnty coµrts are hereby  xx.
empowered ~nd ~             -;tO fDajS:~ •. J.~e f~vml c9nQables in th~k counties fuch al-
lQwance fo.r their ,~oublcf 'i11 . ~ g tand returr~ing their lifts aforefaid, in their
~~t.county,levy, il~ •to ·~       -;~       a,p;c;ar .reaf~nab.Je-. · - _ ,_         :.
'.-.. r.--~       __       ·--    -..., -   ·:'   •., _,_   -   ~:·   -·-I :~/ . ·:·1 .: f_:.       ·- 1: ·~~ _ _ _/_: i _{· _. .       t   .. -   :.           •   ... ._-~•   ~ ·   .          .


 >>JX.· inll it it ·malen, T~ if ·a,tiy ~~iftrate &ail neglect to ke,ep foch books, Penalty 031
                                            1

~ ·~ J.l neglect to mak~ cc,pie~ ~traniinit them ta the governor and council, or neglect of du-
&all neglect to•deliy~ 1PJ.~rigw3.l books, ,.4&,,efpedively required by this alt, he ry ·
tAall ~lifcit and.;pay the fu.m. qf jve hunc1¢i .: poonds c~ftent . money ;. and every
(;~ble wlu, fuall,pegled: te m.ca;~e out ;tft.e, lift, .or negle€.l:, to tranfmtt the copy
offnch lift;·.'(){' 1half neglect to return the original lift, as refpectively required by
this ac,t, fllall f<»feit and pay·the ·fum of two hundred pounds current money.

      -X;-$ti ,IJe it eafteO, ,'f:_~~~,v ~ ~®, ~wm by thi~ act .t o ~ke.the oa,th Pcrrons neg -
ot'•,~ t i ~,afp-~, ~d_.wlwfe ~ oc mark 1hal_l notappear ~n one of the                    t~ake                                                                                           !~~ ::r~
                                                                                                                                                                                             1       0

~gifrtates boq~s ~')IQ, -,Nl! ~ .an4 form, .prefcnbed..as aforefaid, fuall, for. pay treble
an
 ..d du.         . ·.·.th.e ". ~.-~ {~,h·• ·.···~ . . ·· '.in al. 1:~.·- ·.li·c·· -a.nd coun··t·.y·.a.fie
      ·•. •. rin.g                                                                                      .. m.e?ts, p~y a tax taxes, &c.
~Jjle the ta:J which 'by (uc,h:public ot coqqty ~1fe1f.me~~, fua:ll be ~pofed upon
                                                                                                                                                        f
                                                                                                                                                        . i i




cv~.· h ~ ·~fl.s worth of real or perf~al property within this ftate., amt fo
,~ rato ; -. which fa-id tax. lhall be paid, , ~~tb,d_and-levi~ a.,s the faid public
ind county bx:c;~ ate refpeaively paid, collette4 ·and levied.

   XI. ann be it tnaften, That the wortl\111 teal and perfonal property, of every How the '
fuch .perfon chat~ble ·as afo_refaid witq ·thefa!<t;tre~le ta», fuall be deemed and                                                                                                       ;~;:r~:!~e;~
tak.ell for and dttnllg the cont:muance 0£ the fa.id treble t:aX, of fuch amount as be afcertain-
ihall he.afce.rtaine4. on the fo.ial a6e1fment and valuation of all property with- ed.
in this iq.te. wluch atalt be- rm4e oq or ~ the iirft day ef March next.          •-

 . XU. Ji,toDilttO n£bettbe~                                                         :If
                                  fuel\ worth fhall., on any futll# public afieft.;. Provifo.
~nt, .~ augme11t~ .!ii~ trc;?~' ~ · Jhall .be ~ .OJ.l tllat worth fe augmented.

. X:111. .~ bf it ~ , .That the taid, ~reble ,tax") rateJ¼hle _according to the rr~ble tt,~ to
a. Jl!QAAt of fuch-                   .. ·. k·. irl, lhall. be alld .is hereb.·y impo.fc·ed.. as a charge and a ec~~:.c &~~
                  . w~r·t·h·• as....afore
burth~n on aU (ueh_ real and .per!onal eftat.e .offueh perfen,· chargeable with the
fai~ J,r~e ta~, a:s:fq~)i perf011 ,w~s poifcifed ofat the time of the valuation of his
preperty by the ~!fetfors, und~t the -act., entitled, An .at\: to ·aifefs and impofe an
<:q-µal ~ wi, altptoperty within, this. ~                     '     .

  . ;:XIV. j)toUilltlJ ntt>mbdds, ann bt it ~ieu, That 11ofuch property fhall Provifo.
  be chargeable with the faid treble tax which has been bona fide difpofed of after
  fu~h ,v~fion:~forefaid., atl4., ~fi>re . the, making of this act, and that no fuch
  pr~rty Mizljide· dup0fed, of, .~                 the making of this acl, fhall be fubjecl to a
  cliftrefs, fot thc •:faid.trebJe ~:X:j: before ;.default of payment of the faid tax by the
  ~rfqn chargeable.with the -~                   or def~qk .of property in his poffeffion whereby
  ffif.''- ~jd.tQ~:-_he, :~viedi, <. , · . .• , -~ . ,_ .:·. ·-           .
       p' '  I ·1-T :; ·r
              .    ·   .  ·-- .         r ~-~- :       l      ,: .    ..

       XV. &ftlJ, whereas perfons chargeable with· the. faid treble tax mAy have pro-
  perty in di:trerer,it counties in this ftate : And whereas it is nece1fary that the com-
  m,ifiionet$1h.atlld ~ -infortned of all perfons fo chargeable, '15e tt matten, That Govei:nor and
   the-;gove~ aptl •~ -CO\l!l_tit .fuall annually, before the firft day of May, caufe a ~~~~ec~ ~fft to
   ijt\:Ji>'. be pia,de oµi ,of .. aU fk,e male perfons~. of the age of eighteen years, whofe be made, &c.
   names or marij,j,,;by. «,m~ the confiabl~ lifts aforefaid with the magiftrates
   books afurefaid, 1hall ·11ot appear in any of the magifirates books aforefaid, and of
   all-p¢ff$~ 3ny'. Q ~ :,tfe~i.ned, to be;chargeable with the faid trebl~ tax ;
   a'1~ die; ,~ liit ~ll annu.i.i,, Ybdorc the firft day of May, caufe to be delivered
    to,,~c~oners of every COWlty,in this , lh,ite,. who lhall, on receipt thereof,
  ·C,Qznm~(:a..te·i1'~:f~eiito•thc cpll~rs ~fpe6tiv.ely; and ,·the . faid .collectors are
   . . .y.,rdpcaiv~ly cenjoiried to le~ and <;:ollell the Jaid treble tax, on, of and
   f ~,- J.dt .··f ~h -i-1C>t1s; ·.· according· to · . the v:al~c -of fuch perfons · property in their
    .,-pdtl~•~QUnt~.                                                                                  ·
                                                                                                    Bbb                                                         xvi. ann
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 c HA P:          xvii"ftnll be ·i t matteu, That:::ev_eryt~foh' t~arge:lble ·wtn1-ftlie treble tai•                                                                                                               a~
P~rr:i:;·      aforef5id;;:f11all be difabled                 from
                                                       co~~inc~ng}6r'ptoffi'cuting·1ady Mt-·fo -any                                                                                                            d.\ttrt
~~:~~gtt~fe of -this ft~ te, •for th~ reco~ery .of an:y deBft>r;f :im~g~; .:for'. .itrif -in¥ey or toha~Co'
rax difabled due or owing to· him>in ,his o-.vn,rig'1.t, tor,fmfn:~rdifidgfand•pr.ittlfirfg the,tra,de
from _com: . of merchandife, unlefs, previou,s-lf(j)it'Mh' f-uit orimer6llaridifrrig~ ne:-fhttt take~the
~ encrng luit, oath or affirmafion as aforef~id; and _~n cafe of negl~cl: thereof, the court ~efore
& c.           whom foch fuit ih:all hebrcAfgnt:fliiall; 'rx -ojfir:iq:· eh'ter judgritent~bftnorifitit;'· and
               if any-:.fuch --perfon ;ftilfll :exercife ,:ancP prnctife ~fhe trade¢ m~chandife, .\iiitftout
               previouily-:takihg ·the~·o oth or affih'tiafio~ :,as aforefa:id; ·n~ fhaU~: ,:fo~ everrf~li ,Gf;J
               fence, forfeit and pay _five pounds_for~ty ·htffil,-dl1 pounds O{Pr.<?~tty fudi                                                                                                                     .feF~
               fon fhall be , deemeckwo.rrh ,·cm t~ pu~lic aff~m8nf1 ef all·J;fo?Crty V!ithifil- !hilf
                  ftate~                        · · ,:         ·,                       · • · :•;·· ·-/ <c ~'. 1,''i~. < 01                                         ,n.· "i ..· .                        r1:1Hi .'
                                                                                                                                                                            J '.
And pracl:i-
fing the law,         XVII, ann _be it cnaftclJ, .That every perron, ch~rgtahle with .th~ . fret51e                                                                                                                 tax
&c.               afo_refaid, ·_ fhaH_ ~ fo_r ~ve_r·. _ di_ fa,,_                         _.,_.1
                                                                1_-~. -ihd· _'re_n._'iltreu           . 'ol_
                                                                                                     pa    c··tu· .-~... · ·re·_· tA_· w _,_.
                  phyfic or ·futgery, · or -'t he art of;afi :apothecarf,i ~ tto t1'tea~h:or-tl2ch tbe -~ l;
                                                                                         1
                                                                                                                       -_•_
                                                                                                                          ·m_ ·. .
                                                                                                                                 e
                                                                                                                                 ·· . .a                                                                      ~Ja_
                  or to teach in public or 'privat~ iJ diotlls-; ··c;r·torliat{l:or -exetdfef - ~ithin this · ~teV
                     O



                  any office of pr6fit -or tr:utl:~ ·.civil or.military / ·OF ~ rvo,te at an;, ~~ltion :of ereaors
                  of fena'tors, or of delegates to!fhe 1hoi1(e bf delegates[; "1tnd iranyufilch penon flialt
                  offend againft this a&~:in any of th~·particulars ab_                       dv-erfpecified;·h~ :~U,:for every
                  fuch offence, forfeit and pay five 'ppunti~· foi- ,_             every hun<ired pouhds-0f property be
                  fhall be deemed worth on the _tntblic Jaffeifment' ·of ~ll- ' property within• rliis
                  ftate.

Provifo.             XV II I, -l\:)to'llilletl n~tkff~:·antJ .bt it·ettalW,' ·That 1if:a'n t perfon, rtqu~~
                  ed by this acl: to take the oath or affirmation afotffiid, ind ;,~hofe :rnnne ;or mar~
                  1hall not be found fubfcribed --as aforefaid, : ·ffiall)ria.ke it a?,pear · 10' the·gov~not
                  and council, within :fix weeks after the firft d~f~:M-arch rleJtt j ·or 'to the c..euhty
                  court of the county where fuch perfon refides, _w ~ich p~allfirft haprt:n after. the faid
                  firft day of Ma~h next, · that fach perfon is LJiot a: ·~rfoh otftrniing ,.againA:l •t his
                  act: 1 and, ifof the age of eighteen years·, ;at · the·· time -o f fueh ' application t&the
                  governor and counci}, or county court., as a(orefai4, £hall _take                  fa~d ?Ji.th or                                                                t~e
                  affirmation (as the cafe may be), fuch perfon lJhaH not, be fubject td the faid-treble
                  tax and difabilities aforefaid; and, on acqttit'.f.'al''-'i the faid governor and council~
                  or by the faid county court, fuch ·perfon fuall obtain a certifi<;a«n :heroof; ::anEM,e
                  entitled to have · his ·' name enrolled iri one of the', ll'.lagiftrat-c,s ,l>ooks as aforefaid'-;
                  and if fuch perfon has been , fet , down on· thtd_ift' ¢~argeable with the treble.ta~
                  and tranfmitted to the commiffioners, the ·faid' d>1fimiffioners are_hereby enjo~ne~
                  on fuch perfons producing the certificate a,forefaid~ . t~ •corre~ the faid lift, and
                  given·oticethereoftothecollector.:.; :,> · 7 ; __:,:! :,; ~- ! . . '.                                                               1
                                                                                                                                                          ''.                          •       :              :·


                                                                                                                                                           ;    j         ;.   ,   •                           t


Pert:ms not          XIXi !nn be it enadttl, Thaintll J,erfoas, fl(?t ]~a.ving fi~e~ •the aifocration.
;;;·~icf!t7;! who have fled from this ftate fincethe:fourteenth'.&yof Au.gtift},feventeen hun(ired
':nd fl ed, &c. and fevcnty-five,-          to avoid 1taking atif a~ve part'. in ·t~e defence t~eteof,- and -1),ave
l rabk to trc-    croffed_··. the feas and who fuall riot:retUm' OB or be!Gre the :ntft dati1 ofSep'·tetnl:iet
bl · •ax &c                             '                           ·.                                                     .          .,                              .                    .                   ..     .. >
  ~ ' '       · feventeen hundred and feventy-nine, and take the oath or- a·tfirtnat6.0it as afurefaidj
                within one month after their return ~o thi~ ftate; Pia,11 _be liable to the treble tax,
                and to the difabilities impo(ed by this 'act~·'. "; · .,·;,, _, : . . .L:: ,;L: .~' Y,
                                                                                                                                                  .'i - ~- ' ,,: -~


Pi: ov1f'o.          XX. l\:>to'lltnen .· netlcttfmeflf.                           Tba
                                                                  t ::nothing 1i1t this alt tbrttaih~ iliaU e!t~Hd,'
                  or be ··•Conftrued to extend, t©, a-t'ly'_: perfons who.,: having fled from 'this,ftateits' :afore~
                  faid, £hall, at any tim_  e fince their flight; have'.-t-aken an altive par;t'again•ft the f.une~
                  or again ft the United- StaU'.'S, .~y adherir:ig i'to-ithe ,Br~ilh a:rmy ot_lnil\i:t:-: : - -, ::· :~i .,r,
                                            I            ;.              f"   -,   -·      ,,                   •               V:         _,   ~.;       :,1,f.{':~_ ~l_. -/ :)               _.;   ;._ ~~

     .        _       XXI. Ut\lh fot th.!:, bettera(certain ing '. what ~tfom navet~                                                                                           from this'. fttteli!
Jul~iCCS t O l'n- aforefaid, 15:e
u u ire afr cr              . h .  .
                                       it enade'D\
                                        .
                                           Tharthe: juftic~ E>f\ttte ,fe\teral:Je'o offfy Courts''•lha:11
                                              .  • ·     . .      .        . . •·;        .. . . . ,~
                                                                                                                                                                                                                    an£
pc rfons ,\ho nually, at t e1t tefpechve Auguft coufts, nu~e;dil¾gttfit'mlfbify ·aftet-avfflo/                                                                                                            pMoti
ha ve Jkd, S.--c. who has fled from his county                  as
                                                aforefaid; ot -Wht>;) ¥tirriing,afttt1the1iifi¼;di!f''Of
                  M:arch. next, {hall neglect to take                                   ,the·.oath , or;' tttlirmation .afqrefaid;_' within·~
                  time limited 'as .aforefaid, and th.e·ntM· jaftices: n,,H,enter his,~¥tte6nPfhe itt1~
                  of the proceeding·s of their court at their then titting, and, from :t~:fi'id.:miif~
                                                                                                        ..                                                                                                         iliall
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 fhaU m~ke a fair aad-'a ip~~1, lift ofJhe,names of all fneh perfons as aforefaid, c H A P.
 antf:trilflfmit the fame-to tthe g<Wernot and coanc-iL ·      ·.                     xx.

 ·;~if,/       0:1111• ,~ fflis rruuiy l>f the' male ~&s of this ftate; Q.litive the •ge of
  eig11tetn years; are oot•oflthis· iblt(f•oofome lawful ,purpbfes iri fome of the neigh-
  bouring ftates., or in parts beyond the-feas; "l6e-it enafttn, That 1H'O fuch perfon Perfonsabfen r
  !hall~ a.1f~cted ~f an!?fltte.r °,f, tliing c~n~ai~~~}n !h~s ~a:, unlefs ,f~ch perfon,
  fer,. idlree·moo~hsi aft~r,·bis: rett1rn, fhall :wdfnllyi)le~il to take -the fa1d oath, or fetted by this
                                                                                                                                                                        ~:;~\\fit' :t
; afflrm~on, (ag thc>~1tfe· may 'be)"·hefore ·th~ :gove.rtioi" and council;. or fome ma- aa. &c.
  giftrate,of the county of 'dty where he rdiU.eSJ I '             ,.      ' '         '  ' '
 <: l f ;. /1 "'' , ~   r•~>.rr·• .•.:/              ,. ,·                              c   .   .                                 ,       ·


   ";"XXUf. ·anlJ,'..i~i6rder -'t6 •ttifcov6rwhetlief ~e ·perforts aforefaid,_ ahfent •frbhi
 tliis" filte on or ;before the ftrft tiayof Marc'1•fim/ a~d.irefufning after 'that day;
 h~v_e,-ta:ken the :oath1-0r affirmation aforefaid/ _:w ithm the time·limited as afoll!f~id;
 1'etltsfftafteU~ 'ifhat the j u:ftices.of,the fevertf~:::~ nty cou~ts .:;ffiaff arlntia.liyi a:t Jufi:ic~s to .
 tbertrrefpectivc,Auguft courts; Hdke_diligea.t intthiry '. after all/ucn perforis returrt::l ~;;re                                                                          ;;1:~?
 ~ g a~-.,a_.f:>refaid; ~~I     ~iui~g'.t~,1:11t
                                              _ ·~ the oa~~ or '.a_.ffirmati?U af.br,~fa~d Within the returning,&c.
 flnreu~~ed ~~- afo~fa4d,.,~anl4,.fuaU ,mteF-the!#,n~·~ s on -the mmutes of the pro-
 ~it-i~;of the~:oou~t•,:-and,fiir:.and '.alphabetical: lins imake -thereof; and tranf~it
 tlrem1 to the govttn<Jr and·,.cound,l;.. ·.               1 -· , •  •                              ·
           •        __                     ~   r:.. . , :i ::; L~ ~ , ; ,   ' , ;: \: C..i • t~ : - .                     .'. ,           ;       ,           · ,
    XXIV. ann, whereas                 an
                                       perf~n~ fn the regula~ fervice .<f:his, frate, 9r of the
 U.i r\i~ S,tates, <>~ c/any·o~ thetnV ~!!-Ve alree.tlygiveti-, l5y,(uch ferviee, fufficient proof
 N:tt}i}eir atta.c"1~nt~'t0 ·the·frttd<l>m -ancfi independence thereof, . · ~t: it enattcn; _That O ffi cers, &c ·
 M;  _gene,:al,  field, -. '€o~~on~d~ , warr~nt~h~f _.f t~~-officer) ·-or _ot~~.r. officerf nor                                                                         ~;rt~ft~}'t
 any :R>ldier :or p~fon, '.'Jlrt-the, ~egulat f~v~e of this fuite, or the. Umted States, or
 any of themy thaU ~ itff'ed:ed h.t= ·any matter br _thing herein' contained:
                         •               ,,. ~- ':' "·,                          - - -~ ·: '.• , •.,. ·_,             .    : ;·; • • ;        f       '

  :::.'.iXXV. an:o:, •:to prev~t ,this ttate ·· ftom+breoming ;ff.afylum for the dit~
 ~ffuaed fugitives-from ofber•ftates, 15e it tnafttfJ~ Tha,t the_governor and COUil-' Pcrfons_tak i11:g
 c1, ·1 or        rna5~ . - ..... f th"'
          - - any - ~a.ra1.s;;                                       .. . ,-.-or h_1s.
                                 0 , '-' ' '-"->~-m ty , . on. .t1..Heir.
                                               ' "'hh#.'                           . own-    .. - le a-.
                                                                                       . - k now
 mation; thaf ~ny male perfdn: ahove the age 0f. eighteen years, belonging to any prehended,
                                                                                                      ge, or on .rn fo r..: !helter m rh1s
                                                                                                                            ftate to be ap-

 ofthe· United, States, .has taken ,fuelter in thi~ fta~e, _fhall. immediately caufe fut::h &c.
 ]5erfon. ' to be ·ipp~hen<led andex~ined, and-iffuch :perfon ,ea:-:nnot, -upon fuch ex..:
  amihation, .·~~tic~ a <-:rtificate:bfhis having tak~~the oath' or _affirmation pte-
 'fcribed by. hc1s-:fi:ate,.; or . if fnch perfon lia~ 1iot taken -the oath'; or affirmation, (as
  the 'e~fe n1ay·tJe}°which ha_si~Ii P[efcribed by this fiate,' and re'fofes to take the
 _faid oath or_-affinna_tion, 1 and-fuaU . alfo refttfe to ,; take the following oatli; or affir..:
 ·m.atfuh -ifJa qoilker/ me't'lonift ~r: dunker, viz. '.' .I, A. B., do fwear, of folemnly
  ,,~.affirm, ~(if a :quaker, mefiOruft or dunker;)' that J no not-hbld ·rnyfelf hound to
   •~i}4tld,~~y ~llegiaµce ot obedich~ to the ~ing of Great-Br_itain, his heirs or foe~
   "',.cdfors," arid rtharI will )be rtt11e and farthful to the U mted States of America ·
                                                                                   -~               1·      : •   '                   .                   .         ,

   " and will, to:the utmofl: 0ft my power, fupport; ma:intain,and,defond; •the free.:.
    cc dom and indepe?-dence f?e,reof," the gover~or , and _~ouncil, or the faid ~agi-
   -~lfe~, may commit (uch ~tfon t? the public gaol, . or. tihe governor and council
   ~Y reman~ ,fui:h petfon back:-to_his own;ftare;:, and m ;fuck manner as they may
   -ad:fudge the ~~ft ·-e~peciient ;·•Gnd if fuch _perfon _hath · pro~rty in this frate, he
 . ihall b,e :fubject ~to ' the treble ta~ aforefaid, · in manner and foritl 1p.refcribed as afore-
   faioptnd-fl!tth-,pcrf<in ~~~tllfo be fubjeft to·:uI the difabilitieiPimpofed by -tliis act;
    ;and't1pon1every£oom"Q\itment ofi.foch perfon by •any magiftrate 'as aforcfaid; the faid
    ma.giftrate ihall immediately give notice thereof to -the •faid· governor and council: "

  : :. ·IXXVL IT being repfeltnted,'to lhis ·g~neral ailcmbly, ,;fnat,_ many perfons who
  ,gave bonds to \t!1e pteftden~s bf die late conventiom, councils of fafety, -and to the
   <.-tifiim1tteti& cw obfet.wti(m,t•for:4:~~~goocl:behavioor, and ·Jitlelity to this ftate, have . .
   been >guilty of breaches, '15e it enatten, That all bonds, taken in the natne of any Bonds _to be
   pre11       · r , ..
        'f:dento convention, cou~~l·1 of 1a.Jety,,
                                             r_r.       . .h
                                                     or i:n                           f       h tran fm1ttcd to
                                                              t e . 1:ame or names o any ot er the clerk, &c.
   perfoij _o~ ~rfgl}s, _.fqr the u{e of this itate; be ._ t,ra.nfm1tted as foon as poffible to
   the clerk i;flne county where·_the priricipaland the fecurity refide, or if the prin-
   t:jpalhas - departed ·t_his frate, to tbe derk·of.the county where the 'fecurity may
    telide,: and theteuron fcire facias !hall immediately iffue in the name of this fiate
    ··                                                         ·                           againfl:
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  1 777·

 CH AP.
       xx.             again.ft -the obijggrs "in the · bonds, ,~}leging a; :hr:~ach -0f every. p~rt of the con-
                       dition, and requiring the defen~µ-ts .tQ ili,ew- q1,\Jfe wh)! judgqie,nt and executi.on
                       fhould not be had for the penalty, and the <.lefendant appearing fhall . plead the
                       ge~eral iffue of performance, . and tri~ ili.a.ll be h~d the firft CQU,rt, unJtfs .for fpe-
                       cial rqfo\1s the rourt ·iliall gcyiµ{ qne imparlance, :and if two nihils fhall he reNrn-
                       ed, judgipent of execution ~U b,e renqered. .                                       ,_,!

~:: ;:;:ll ; XXVII.:. ln\1 t,e jt ell:ift@,;:;'I'~~;ifany fubje~ pr inhahit3nt.qf thisftat~:~~
boardtheene- g0 on ~rd ,~ y v~«el                        of,w.ar:~•i tf~port bt;lp,qgmg to th~ ;CQeJny, or ,tq t~ir
my's vdfels,           camp, or to any city, town, port o,r<plac¢,· w.i~»t. ally of th~ l)piteq States. in
&c.                    their pnifeffion, without permiffion in writing from the governor and the council
                       of this ftatc;, and-if~Qy fu~j,~•ord ~hl!bitllht ef ~i~•ftate lhal.l ·rec~ve any protec-
                       ti,on for himfelf ~r _pro~rty from:1Ae;-t~my,>. ot: ..any one ;U:~r,.their authority,
                       fa.ch pe                    _,¥_
                              . _._-.rfon, on (;o._n  J~i9!! •th.er:.~_>in ~he ge-.- ~
                                                                                     .- _ror. atl_
                                                                                                 Y- _co_.-~- ty. ,co_ur_.t of th_is ·f__.ta__te;
                       fuall be fined by the cour~ 11Qt,~ g the ra~ qf t,eo po~~ for ~very ~µ~ed
                       pounds: 9f pr.operty belonging Jo f l.l-f:h per(on ~ith-n, this fl:ate ; and _if any ., pe.rfon
                       convicted of a~y of t4e q[en~ffi aforcfaid,, fha.lLP.1qt1~ve pro~rty wi,thi,n this )late
                       valued and rated ,agreeable to. the ,Jt~ affeilm¢nt ,ia0; at m,~,tban two htmd£ed
                       pounds, the court Jnay fine futnr]ktfOJJ at the rate ~()refaid,. Q,nd,al:(Q acljudge him
                       to be im prifoned for any term not exceeding on~ '.Y(:!ab,Qr, to: be ·w~~: nPt. ~~
                       ceeding thirty-nine lailies, or both, in their difcretion.                                                •

                           XXVIII. WHEREAS perfons guilty o,f                             higi tfea{()Jl may; by-being cmt:qf thJ
                       reac~ of a l<i:gal pr~cefs_in the co~Ill~ :c ~" ofpr~~?in~,. .evad#,~ trial arul the
!:tef~j;·
      0
                       punifument of th~ir cnmes, 15e,it enaftell, 'Fhit ·Qtf llitdi~Qlerit fpqnd by t.b4:
treafon, and°          grand jury of the general c;ourt againft any per(Qn.;fQr :treafon,. the court lhall imr
nor to be              mediately order cap/a, to appreh~nd -(ueh perfon; ' ii\irect-ed to ihe lheriff of ,the
~:~fa~~e~        t~. county in which fuch perfon lived or refided, and on return by the faid lheriff of
             '         the flight of fuch perfon, fro11J . thi~ ,ftate, or that J1e ,is not ,tobe found ln the
                       county, the ge~eral court iliall cattle fuch perfon _tp-h~ proc}aimeq, and folemnly
                       called and required, in full and open ~OiJrt, to ,appe,ar and an(wer t_o the indict..
                       ment againft him, and on default thereof, entered, on their record, the faid court
                       ihall iffue a writ to the fheriffwho retµrn~d ,th.$!: q,api.1u, to caµ(e fu:ch perfon, tg be
                       proclaimed, an,d foleninly c:ill~ _a,nq required,, ~t two.feveral courts to be held, for
                       his county, in full and open court, to furrend~r :him.(elf to his cuf'tod.y, tQ,anfwer
                       to the inditl:ment.Jou~d agajnft him; and the ~d, fueriff fh~ll make his return of
                       fuc;h proclamation and default to the general CQlJf~,, whq ~11 .record fuch _retutf,l
                       and default, and thereupon proceed to adjudg~: Cuch perfon:to be .<>utlawed~ apd
                       fud1 judgment of outlawry lhall amount in law , tQ a convi{tion and .attainder of
                       the perfon of the treafon charged in the indicl:meri~,. in the fame manner as if the
                       perfon fo indicted had been found gu.ilty thereof by a -petit jury, and fuch perfon
                       ihall t~ereupon forfeit to :the u~ of this ftate all the eftate which he had at the
                       time when tµe incllctnU~llt. ~ ~lleg~ his commiffiort 9f the treaf<)n.

Perf':ns not to
be tried for    . r. :r.
                           xxix. ann be it matten,
                             f    r.
                                                 That no perfoµ
                                         • Jl. h" 1l.              th   .      un1-r.
                                                                           di.Cl.-      r.
                                                                                               'aiau
                                                                                be fried for any treafuiux
                                                                                             d •thi h           be
treafon unlefs m11pr!:!l0il O trea1on agam1., t lS na,t e, •· _q.S    C lI1 l.uuent     10Ull .WI . n t ~
                      _... t.er the offi_e. nc_e c.o mm
~ndictedwirh- years _afi                             _ . -. itt~d._;
                                                            a. nd. i_t. i·s·· ·. declared, th
                                                                                            _. at no perfc_·.on Jhall be e-0_n_. -
;/hree years, vicl:ed _
                      by a petit jury of either of the f.iid crimes,                   unlefs by the oath -of two law~
   ·                   fol witneifes to prove ~c.h : ~parate and· difrind fu.ct charged in the indi&nent a,s
                       treafo11 ot mifptifion Qfi~wn, ex,cept the. prifoner willmgly,: and without force
                       or violence, confefs the. ia~ in o_?-:n,court. .              ,      ,.       .· _        ._

~=~ ~:k:~
       0

the oath not
                  0
                                     . .bth... i~ maddeft:etl, That .,no, perfon who hath already ~kken hthe ,faid
                           XXX. 91\llde
               oath, or ma . t e tai · · . ~laration; fhal1 be obliged to take or ma e t e fame,
obliged. again agr;eea)Jle to' th~ dire¢1::iqps of this act- any 'thing he,r~in CQJ\~~~ to the contnuy
w take it. · notwithftand,ing ..,: .- · , .             · -,    ,     · .,, '. •.: ·~ _ :<
                                                                                               xxr. >
                                                                to the ad:, entitled, :A~.~to r~~ulate_ the, militia.
                                                                 C      H     A      P.
                             A fopplementary ACT
                          This acl: has been always contu~ued with the prillcip;u a6l:, ·~d .:A.:~.that it has expir~.

                                                                                                                                CHAP.
